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                                IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF KANSAS

  DAVID BEATY and                                        )
  DB SPORTS, LLC,                                        )
                                                         )
                         Plaintiffs,                     )
                                                         )
  v.                                                     )       Case No. 2:19-CV-02137-KHV-GEB
                                                         )
  KANSAS ATHLETICS, INC.,                                )
                                                         )
                         Defendant.                      )

                     DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME
                     TO EXCHANGE RULE 26(a)(1) DISCLOSURES AND DOCUMENTS

                Defendant Kansas Athletics, Inc. hereby moves this Court for extensions of time to June

21, 2019 and July 8, 2019, respectively, for the parties to exchange Rule 26(a)(1) Initial

Disclosures and the documents identified therein. In support of the motion, and pursuant to Local

Rule 6.1(a), Defendant states:

                1.      Counsel for Defendant has consulted with counsel for Plaintiffs, and Plaintiffs have

no objection to the requested extensions of time.

                2.      The current deadline for the parties to exchange initial Rule 26 disclosures is June

14, 2019, and the deadline for the exchange of documents identified therein is June 28, 2019 (ECF

15).

                3.      No previous extensions have been requested or granted for the exchange of

disclosures and documents.

                4.      The extensions are needed due to the press of business and intervening travel of the

undersigned counsel, and to allow the defendant additional time to identify and collect the witness

information and documents needed for its disclosures.




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                5.     The extensions are not requested for purposes of delay, and no party will be

prejudiced by the extensions, as Defendant’s Motion to Dismiss is pending before the Court.

                WHEREFORE Defendant respectfully requests that the Court grant an extension of seven

(7) days to June 21, 2019 for the parties to exchange of Rule 26(a)(1) Initial Disclosures; and an

extension of ten (10) days to July 8, 2019 for the exchange of documents identified in the parties’

Disclosures.

                                                            Respectfully submitted,


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                                        CERTIFICATE OF SERVICE

                The undersigned counsel certifies that a true and correct copy of this document was filed

through the Court’s CM/ECF filing system on the 12th day of June, 2019 which generated a Notice

of Electronic Filing to the following counsel:

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